    Case: 1:20-cv-01468 Document #: 30 Filed: 04/29/20 Page 1 of 1 PageID #:1123


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Dynamite Marketing, Inc. v. The Case Number: 12-cv-01468
            Partnerships andUnincorporated
            Associations Identified on
            Schedu
An appearance is hereby filed by the undersigned as attorney for:
Shenzhen Union Promo Technology Co., Ltd.
Attorney name (type or print): TAO LIU

Firm: WHITEWOOD LAW PLLC

Street address: 57 W 57TH STREET, 3RH AND 4FLOORS,

City/State/Zip: MANHATTAN, NY 10019

Bar ID Number: 5741665                                     Telephone Number: 6503346757
(See item 3 in instructions)

Email Address: liutao@whitewoodlaw.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                      Yes       ✔ No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 4/29/2020

Attorney signature:            S/ TAO LIU
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
